8:12-cr-00282-BCB-MDN          Doc # 350        Filed: 06/14/13   Page 1 of 1 - Page ID # 838




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )            8:12CR282
               Plaintiff,                   )
                                            )
vs.                                         )               ORDER
                                            )
ANDREA INZUNZA-LOPEZ,                       )
                                            )
           Defendant.                       )


          Before the court is attorney Alberto Silva’s Motion to Withdraw [325]. A hearing was
held on May 28, 2013 whereby defendant was to fill out a financial affidavit and waiver of
speedy trial. The court finds that the defendant is eligible for appointment of counsel pursuant
to the Criminal Justice Act, 18 U.S.C. §3006A, and the Amended Criminal Justice Act Plan for
the District of Nebraska, and attorney Alberto Silva’s motion to withdraw shall be granted. The
trial in this matter shall be set by further order of the court.

 IT IS ORDERED that Stuart J. Dornan is appointed as attorney of record for the above-
named defendant.

 IT IS FURTHER ORDERED that the Federal Public Defender's Office shall forthwith provide
counsel with a draft appointment order (CJA Form 20) bearing the name and other identifying
information of the CJA Panel attorney identified in accordance with the Criminal Justice Act
Plan for this district.

 IT IS FURTHER ORDERED that counsel's appointment herein is made pursuant to 18 U.S.C.
§3006A(f). At the time of the entry of judgment herein, defendant shall file a current and
complete financial statement to aid the court in determining whether any portion of counsel's
fees and expenses should be reimbursed by defendant.

 IT IS FURTHER ORDERED that the Motion to Withdraw as Attorney [325] is granted.
Attorney Alberto Silva shall be deemed as withdrawn as attorney of record.

DATED this 14th day of June, 2013.

                                     BY THE COURT:


                                     s/ Laurie Smith Camp
                                     Chief United States District Court Judge
